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 5
                          UNITED STATES DISTRICT COURT
 6
                         EASTERN DISTRICT OF CALIFORNIA
 7

 8

 9   UNITED STATES OF AMERICA,            No.   2:14-cr-00083-GEB

10                Plaintiff,              TRIAL CONFIRMATION ORDER

11       v.

12   RUSLAN KIRILYUK,

13                Defendant.

14
               Trial     in   the   above-captioned     case,    scheduled    to
15
     commence at 9:00 a.m. on February 19, 2019, was confirmed at the
16
     hearing held on January 4, 2019.
17
                               EVIDENTIARY DISPUTES
18
               All evidentiary disputes capable of being resolved by
19
     in limine motions shall be filed no later than January 18, 2019.
20
     Oppositions to the motions or statements of non-opposition shall
21
     be filed no later than January 25, 2019.             Any reply shall be
22
     filed no later than February 1, 2019.         Hearing on any in limine
23
     motion is scheduled to commence at 9:00 a.m. on February 8, 2019.
24
               Any     reasonably   anticipated     dispute     concerning   the
25
     admissibility of evidence that is not briefed in an in limine
26
     motion shall be included in trial briefs.
27

28
                                         1
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 1                                  TRIAL PREPARATION

 2                A.    No later than five court days before the trial

 3   commencement date, the following documents shall be filed:

 4                      (1)     proposed    jury      instructions      and    a   proposed

 5   verdict form (and the Courtroom Deputy Clerk shall be emailed a

 6   word version of the documents);

 7                      (2)     proposed voir dire questions to be asked by

 8   the Court;

 9                      (3)     trial briefs;1 and

10                      (4)     a      document           containing     a     sufficient

11   explanation of the factual allegations involved in the trial so

12   that we can ascertain whether a potential juror can be a fair and

13   impartial juror in this case.

14                B.    The government’s exhibits shall be numbered with

15   stickers.      Should the defendant elect to introduce exhibits at

16   trial, such exhibits shall be designated by alphabetical letter

17   with stickers.       The parties may obtain exhibit stickers from the

18   Clerk’s Office.       The government shall file an exhibit list and a

19   witness list as soon as practicable.

20                C.    The jury will be told that it is estimated that it
21   will take seven (7) court days to present evidence to the jury

22   and to complete closing arguments.                   Each party has fifteen (15)

23   minutes     for   voir    dire,    which       may    be   used   after   the   judge

24   completes judicial voir dire (unless the judge decides to conduct

25   all voir dire).          Two (2) alternate jurors will be empaneled, if

26   1 To ensure that the trial proceeds at a reasonable pace, the government is
     required to include in its trial brief a summary of points of law, including
27   reasonably anticipated disputes concerning admissibility of evidence, legal
     arguments, and citations of authority in support thereof. The defense is also
28   encouraged to do this to the extent it opines it should.
                                                2
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 1   feasible.

 2                  The “struck jury” system will be used to select the

 3   jury unless this case is reassigned and the reassigned judge

 4   elects    to    use    another   system.        The    struck    jury    system     is

 5   “designed to allow both the prosecution and the defense a maximum

 6   number of peremptory challenges.              The venire . . . start[s] with

 7   about    3[6]    potential     jurors,   from      which   the   defense    and    the

 8   prosecution alternate[] with strikes until a petite panel of 12

 9   jurors remain[s].”           Powers v Ohio, 499 U.S. 400, 404-05 (1991);

10   see also United States v. Esparza-Gonzalez, 422 F.3d 897, 899

11   (9th Cir. 2005) (discussing “the ‘struck jury’ system to select

12   jurors”).

13                  The    Jury   Administrator      randomly     selects       potential

14   jurors and places their names on a list that will be provided to

15   each party in the numerical sequence in which they were randomly

16   selected.        Each potential juror will be placed in his or her

17   randomly-selected seat.          The first 12 randomly selected potential

18   jurors on the list will constitute the petit jury unless one or

19   more of those 12 is excused.                 Assuming that the first listed

20   potential juror is excused, the thirteenth listed potential juror
21   becomes one of the twelve jurors that could be empaneled as the

22   petit jury.

23                  The Courtroom Deputy Clerk gives each potential juror a

24   large    laminated      card   depicting     the    numerical    order     that    the

25   potential juror was randomly selected.

26                  Following the voir dire questioning, each side take
27   turns    exercising      peremptory   challenges.          The   parties    will    be

28   given a sheet of paper (“strike sheet”) that will be used to
                                              3
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 1   silently exercise peremptory challenges in the manner specified

 2   on the strike sheet.              If a party elects to pass rather than

 3   exercise a peremptory challenge, the word “pass” shall be placed

 4   on   the    strike    sheet    for    that        peremptory      challenge      and     that

 5   challenge is waived for the then-constituted jury panel.                                  See

 6   generally, United States v. Yepiz, 685 F.3d 840, 845-46 (9th Cir.

 7   2012)      (indicating      “‘use    it     or    lose     it’    voir    dire     [waiver]

 8   practice” is authorized if “the composition of the panel” does

 9   not change).

10                 The    parties     requested        that    the    alternate       jurors    be

11   retained     after    the    jury    retires         to   deliberate,     and     that    the

12   alternate jurors would then no longer be required to appear in

13   court unless directed to appear by the Courtroom Deputy.

14                 D.     If any party desires training on the court’s audio

15   visual      equipment     that      party        should    contact       Richard       Arendt

16   (rarendt@caed.uscourts.gov)               in      the     IT     Department       to     make

17   arrangements        for   training.            The    courtroom     is    available       for

18   training Monday through Thursday between 8:00 and 8:30 a.m.                                If

19   training is not needed and a party wants to test the equipment,

20   this can be done on the morning of trial between 8:00 and 8:30
21   a.m.

22                 E.     Each party has fifteen (15) minutes to make an

23   opening statement.

24                 F.     After closing jury instructions, the judge intends

25   to communicate the following with the Court Security Officer and

26   the jury:
27                      The Courtroom Deputy shall administer
                   the oath to the United States Court Security
28                 Officer.
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 1                  Sir, the jury may take a break and/or
               break for a meal, without consulting me; the
 2             breaks are under your general supervision.
               If the jury adjourns for lunch, a Court
 3             Security Officer shall immediately tell the
               Courtroom Deputy so that my staff, the
 4             lawyers, the parties, and I can be relieved
               from standby status while the jury adjourns
 5             deliberations.

 6                  Should the jury adjourn later today,
               jurors are permitted tomorrow to proceed
 7             directly to the jury deliberation room, but
               jurors are to wait until all jurors are
 8             present before resuming deliberations because
               all jurors must be present when the jury
 9             deliberates. Jury deliberations shall occur,
               as needed, until 4:30 p.m. when the jury
10             shall adjourn for the evening; and the jury
               shall resume deliberations the next day
11             commencing at 9:00 a.m.

12                  A Court Security Officer will maintain a
               post outside the jury deliberation room to
13             protect the jury from outside influences or
               visitors.   The Court Security Officer will
14             not communicate with a juror about the case
               or    the   court    system   because    such
15             conversations could be misconstrued as a
               communication that seeks to influence a
16             juror. What I just said does not apply to a
               note that a juror and/or the jury gives to
17             the Court Security Officer, because a juror
               and/or the jury is required to inform the
18             Court Security Officer that a note needs to
               be given to the judge.
19
                     Each juror may continue possessing his
20             or her cell phone or other communication
               device, but that device shall be turned off
21             when the jury is engaged in deliberation.
               The Court Security Officer shall escort the
22             jurors to the jury deliberation room.

23             G.    Further the Court intends to tell the alternate

24   jurors what follows:

25                  Under federal law, an alternate juror
               can only go into the jury deliberation room
26             if the alternate juror replaces a juror.
               Therefore, you may leave the courthouse now
27             and do what you normally do when you are not
               on a jury.   However, you are still bound by
28             the   admonitions   I  gave   in   the  jury
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 1             instructions,   since   you   may  eventually
               replace one of the deliberating jurors.    If
 2             you are needed to replace a juror, the
               Courtroom Deputy will tell you to appear in
 3             this courtroom.    If you replace a regular
               juror the jury will have to commence jury
 4             deliberations anew. Provide the Courtroom
               Deputy with your contact information before
 5             you leave the courtroom.     If the trial is
               resolved, the Courtroom Deputy will inform
 6             you that you are discharged from further
               service on this case and you are released
 7             from the admonitions, including the directive
               that you not talk to others about this case.
 8             In the event I do not see you again, thank
               you for your service on this case.
 9
               Any objection to or proposed modification to either or
10
     both communications in sections F and G shall be filed no later
11
     than five (5) days after this order is filed.
12
               Lastly,    the   parties   shall   endeavor   to   assemble   the
13
     exhibits before the jury retires for deliberation.
14
               Dated:    January 7, 2019
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